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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



SUNOCO PIPELINE L.P.,
8111 Westchester Drive, Suite 600, Dallas, Texas,
75225,
                                                        Civil Action No. 21-1760
                        Plaintiff,
                 v.

U.S. DEPARTMENT OF TRANSPORTATION,
1200 New Jersey Avenue, SE Washington, D.C.
20590,

PIPELINE AND HAZARDOUS MATERIALS
SAFETY ADMINISTRATION,
1200 New Jersey Avenue, SE Washington, D.C.
20590

PETER BUTTIGIEG, SECRETARY OF THE
DEPARTMENT OF TRANSPORTATION, IN HIS
OFFICIAL CAPACITY,
1200 New Jersey Avenue, SE Washington, D.C.
20590,

and

TRISTAN BROWN, ACTING ADMINISTRATOR
OF THE PIPELINE AND HAZARDOUS
MATERIALS SAFETY ADMINISTRATION, IN
HIS OFFICIAL CAPACITY,
1200 New Jersey Avenue, SE Washington, D.C.
20590,

                        Defendants.


      VERIFIED COMPLAINT FOR INJUNCTIVE, DECLARATORY, AND OTHER
                                RELIEF

           COMES NOW Sunoco Pipeline L.P. (“Sunoco”), and states as follows for its Complaint

 herein:
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                                NATURE OF THIS ACTION

                                                 1.

       Sunoco operates the Mariner East 2 (“ME2”) pipeline in Pennsylvania. In 2018, a

representative from the Pipeline and Hazardous Materials Safety Administration (“PHMSA” or

the “Agency”) inspected Sunoco’s flow reversal project on the Mariner East pipeline system. As

part of that inspection, Sunoco provided certain confidential, proprietary, and highly sensitive

security information to PHMSA and expressly designated the information as confidential and

proprietary and exempt from disclosure under the Freedom of Information Act (“FOIA”) when it

was provided to the Agency. This information included the specific results of risk assessment and

consequence modeling which identified those areas along the ME2 pipeline that would be most

impacted by a potential pipeline rupture and the specific distances in which the worst-case impact

from a catastrophic pipeline rupture could occur. Sunoco prepared this risk consequence modeling

data in the course of its commercial operations and it maintains the confidentiality of such data

both because it is confidential commercial information and because of the risk to the security of

the pipeline and nearby communities. If the risk consequence modeling results became publicly

available, it would provide a roadmap to third party criminals or terrorists who may seek to cause

the greatest possible damage to the pipeline and harm nearby communities. For that reason, the

Pennsylvania Public Utility Commission (“PA PUC”), which is authorized to enforce federal

safety standards as an agent of PHMSA in the state, has held that the risk consequence modeling

data is confidential information that should be withheld from public disclosure. In addition,

PHMSA and pipeline operators routinely protect similar types of confidential information from

disclosure.




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                                                2.

       On May 17, 2019, PHMSA issued a Notice of Proposed Violation (“NOPV”) alleging that

Sunoco was in violation of certain pipeline safety regulations. Though not necessary to the basis

for the NOPV, PHMSA quoted verbatim the results of Sunoco’s confidential risk consequence

modeling that Sunoco provided to the Agency in confidence. That information was also included

in an underlying Pipeline Safety Violation Report (“PSVR”) prepared by PHMSA.

                                                3.

       Upon receipt of the NOPV and PSVR, Sunoco immediately notified PHMSA of the

confidential nature of the risk consequence modeling data, objected to the disclosure of the data

and requested that PHMSA revise and reissue the NOPV without the data, or, alternatively, redact

the specific results of the risk consequence modeling from both the NOPV and PSVR. Sunoco

asserted that the results of the risk consequence modeling were confidential and sensitive

information that is exempt from public disclosure pursuant to exemptions 4 and 7(F) of FOIA, as

confidential commercial information and highly sensitive security information. Over the course

of several months and throughout frequent communications with the Agency, Sunoco explained

that the results of its risk consequence modeling must be withheld from public disclosure because

it could be used by third parties to damage the existing pipeline and/or harm surrounding

communities and because Sunoco deemed it to be confidential commercial information.

                                                4.

       In correspondence on November 25, 2019, PHMSA acknowledged that the information

should be withheld from public disclosure and agreed to redact the confidential modeling data

from the NOPV. Since December 5, 2019, PHMSA has received several FOIA requests for an

unredacted copy of the NOPV. Following consultation with Sunoco and Sunoco’s substantiation

of its claims for confidentiality, PHMSA denied the FOIA requests on the grounds that the risk

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consequence modeling results were exempt from disclosure under FOIA exemption 4 as protected

confidential commercial information. The FOIA requestors appealed PHMSA’s denial, and on

December 9, 2020, PHMSA requested additional written explanation from Sunoco regarding the

harm it would suffer if the unredacted NOPV were disclosed. Sunoco timely responded with

further justification and explanation of that harm on December 18, 2020. Six months later, on

June 24, 2021, and over two years after Sunoco first raised the issue to PHMSA, PHMSA reversed

its prior determination, finding that FOIA exemptions 4 and 7(F) do not apply to the results of

Sunoco’s risk consequence modeling and expressed its intent to release an unredacted version of

the NOPV on July 2, 2021 (“Final Determination”).

                                                5.

       Due to the highly sensitive nature of the risk consequence modeling results and the

potential that the ME2 pipeline and the surrounding communities could be harmed as a result of

the release of those results, Sunoco now requests that the Court set aside PHMSA’s erroneous

Final Determination and issue an order that prevents the Agency from otherwise disclosing or

releasing the results of Sunoco’s risk consequence modeling to the public.

                                                6.

       Counsel for Sunoco has met and conferred with counsel for PHMSA, as well as counsel

for the Department of Transportation (“DOT”) and counsel for the Department of Justice in

advance of filing this Complaint. PHMSA and DOT have agreed to withhold disclosure of the

unredacted version of the NOPV and PSVR pending final resolution of this matter by the Court.

Based on that agreement, Sunoco is not seeking preliminary injunctive relief from the Court.




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                                           PARTIES

                                                7.

       Sunoco is a wholly-owned subsidiary of Energy Transfer LP. Sunoco is organized and

exists under the laws of the state of Texas. Sunoco is headquartered in Dallas, Texas. Sunoco

operates numerous pipelines, including the ME2 pipeline, and conducts a substantial portion of its

business in Pennsylvania.

                                                8.

       PHMSA is a federal agency that falls under the purview of the U.S. Department of

Transportation. The Agency is headquartered at 1200 New Jersey Avenue, SE Washington, D.C.

20590. Tristan Brown is the Acting Administrator of PHMSA and Peter Buttigieg is the Secretary

of Transportation with authority over DOT.



                                JURISDICTION AND VENUE

                                                 9.

       Pursuant to 28 U.S.C. § 1331, the Court has subject matter jurisdiction over this action

because Sunoco’s claims arise under the law of the United States, including the Freedom of

Information Act, 5 U.S.C. § 552, and the Administrative Procedure Act, 5 U.S.C. § 702.

                                                 10.

       Pursuant to 28 U.S.C. § 1391(e)(1), venue is proper in this Court because the Defendants

“reside” in Washington, D.C. and because a “substantial part of the events . . . giving rise to the

claim occurred” at PHMSA’s headquarters in Washington, D.C. In particular, PHMSA’s initial

decision to withhold this information as exempted confidential commercial information and its

recent decision to publicly disclose Sunoco’s confidential risk consequence modeling data were

made and/or approved by PHMSA’s FOIA Officer and chief counsel located in Washington, D.C.

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                  FREEDOM OF INFORMATION ACT FRAMEWORK

                                                11.

       FOIA mandates that federal agencies make certain information available to the public

unless that information is otherwise exempt from public disclosure. 5 U.S.C. § 552(a). The

requirements of FOIA, however, do not apply to nine categories of information that are expressly

exempt from public disclosure. Id. at § 552(b)(1)-(9).

                                                12.

       Exemption 4 to the requirements of FOIA covers “trade secret and commercial or financial

information obtained from a person [that is] privileged and confidential.” 5 U.S.C. § 552(b)(4).

                                                13.

       Exemption 7(F) to the requirements of FOIA covers “records or information compiled for

law enforcement purposes, but only to the extent that the product of such law enforcement records

or information . . . could reasonably be expected to endanger the life or physical safety of any

individual.” 5 U.S.C. § 552(b)(7).

                                                14.

       Under relevant PHMSA regulations, a party that seeks to submit information to the Agency

that may be exempt from disclosure under a relevant FOIA exemption must clearly mark the

information as confidential and request that the Agency withhold the information from public

disclosure. 49 C.F.R. § 190.343.

                                                15.

       According to relevant DOT regulations, “DOT makes reasonably described records

available upon request from a member of the public, when the request is submitted in accordance

with this subpart, except to the extent that the records contain information exempt from FOIA's

mandate of disclosure as provided in 5 U.S.C. 552(b).” 49 C.F.R. § 7.23(b).

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                                  STATEMENT OF FACTS

                                                 16.

       Throughout August, October, and November of 2018, a representative from PHMSA

inspected Sunoco’s Flow Reversal/Repurposing Project on the ME2 pipeline system located in the

Chester and Delaware counties of Pennsylvania to determine the system’s compliance with various

pipeline safety regulations.

                                                 17.

       During that inspection, at PHMSA’s request, Sunoco provided hazard analyses for the

Agency’s review that were prepared at Sunoco’s request by Stantec Consulting Ltd. (“Stantec”).

These reports included a (1) a March 27, 2017 report entitled “Hazard Assessment of the Proposed

Mariner 2 East Pipeline” (“Stantec Report”); and (2) an October 15, 2018 report entitled “Energy

Transfer: Mariner East 2 Pipeline Re-Route near Chester and Delaware, Pennsylvania – Butane

Spill Assessment: Final Report” (“Stantec Final Report”).

                                                 18.

       Sunoco retained Stantec, a consultant with expertise in pipeline risk assessment and

consequence modeling, to perform these confidential proprietary hazard analyses in order to fulfill

Sunoco’s regulatory obligations as part of its ongoing commercial operations. The analyses

contained specific results of incident dispersion and thermal radiation consequence modeling

performed by Stantec related to the ME2 pipeline. That is, the analyses modeled and identified

specific areas along the pipeline that would be most impacted by a catastrophic incident on the

ME2 pipeline.

                                                 19.

       Stantec’s reports were generated based on the unique conditions assumed by Stantec and

based on specific proprietary information provided by Sunoco during its analyses. Although third

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parties can conduct their own modeling in an effort to estimate the potential impacts of a spill from

a pipeline, it is unlikely that any third party could reproduce the specific risk consequence

modeling results Stantec generated for Sunoco without Stantec’s unique modeling assumptions.

                                                  20.

       Sunoco uses the information contained in Stantec’s hazard analyses to develop its Integrity

Management Plan and for emergency planning. These plans are required under federal pipeline

safety regulations and are used to assess risks associated with pipelines and implement controls to

reduce those risks. See 49 C.F.R. § 192.911. Within these plans, operators use risk consequence

modeling data, like the information developed by Stantec, to identify potential areas that would be

most impacted by a pipeline rupture, referred to as high consequence areas, and assess the worst-

case impacts to those areas from a catastrophic pipeline rupture. Operators also include this

information in pipeline Facility Response Plans under 49 C.F.R. Part 194 and use the results of

risk consequence modeling to identify and prioritize their response in the event of a pipeline

rupture.   This information is confidentially shared with PHMSA, relevant states, and local

emergency responders.

                                                  21.

       The information contained in hazard analyses prepared by pipeline operators, including

risk consequence modeling results, is highly confidential and it is routinely protected from

disclosure to the public by PHMSA and pipeline operators. PHMSA has historically withheld

hazard analyses from public disclosure and typically redacts the results of risk consequence

modeling from Facility Response Plans and spill-model discussions. In 2017, PHMSA expressly

recognized the need for protecting risk consequence modeling in Facility Response Plans. (See

Ex. A, PHMSA’s Facility Response Plan Confidential Information Policy (Jul. 21, 2017) (noting

that “waste case discharge information” is protected under FOIA exemption 7(F)). Further,

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PHMSA’s website contains numerous examples of redacted Facility Response Plans under

applicable    FOIA     exemptions,     including       exemptions   4   and    7(F)    (available    at

https://www.phmsa.dot.gov/       and    https://www.phmsa.dot.gov/foia/phmsa-electronic-reading-

room). Sunoco is unaware of any other PHMSA enforcement action where it expressly quoted

risk consequence modeling data that was submitted by an operator under the condition that the

information would be treated as proprietary and confidential and subject to FOIA exemptions from

public disclosure.

                                                   22.

       If disclosed, the results of risk consequence modeling create a roadmap for anyone

intending to damage the pipeline and/or harm the surrounding community. In particular, the

specificity of the risk modeling data provides anyone seeking to cause harm the ability to identify

the zones and populations where a pipeline incident would cause the greatest impact.

                                                   23.

       Given the sensitive nature of the results of risk consequence modeling contained in the

Stantec reports, the PA PUC has found that the Stantec hazard analyses contain confidential

information that must be withheld from public disclosure. Multiple parties have requested the risk

consequence modeling data contained in the Stantec reports from the PA PUC. In light of the

confidential nature of the information, the PA PUC has denied all such requests. In response to

one of those requests, the PA PUC held that the records should be withheld because they “would

be reasonably likely to jeopardize or threaten public safety” or “create[ ] a reasonable likelihood

of endangering the safety or the physical security of a . . . public utility, resource, infrastructure,

of facility.” (See Ex. B, PA PUC Right-to-Know Denial (Mar. 11, 2019)). The denial of one of

these requests is currently pending on appeal before the Pennsylvania Supreme Court.




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                                                   24.

       When Sunoco provided Stantec’s hazard analyses for PHMSA’s review, it clearly marked

the related documents, and every page therein, as “Proprietary and Confidential Information.”

This marking is consistent with applicable PHMSA regulations on submission of confidential

materials. See 49 C.F.R. § 190.343(a)(1). With respect to the Stantec Report, Sunoco also labeled

this report as “Confidential – Property of Energy Transfer Partners – Hazard Assessment of the

Proposed Mariner East 2 Pipeline.”

                                                   25.

       Sunoco also attached a cover letter to the each of the Stantec reports which stated that the

information was provided to PHMSA “conditioned upon [it] being treated according to available

and “applicable federal and state confidential, proprietary, and infrastructure security treatments

and procedures[.]” (Ex. D, Letter to PHMSA from Sunoco Submitting the Stantec Report (Jul. 6,

2018); Ex. E, Letter to PHMSA from Sunoco Submitting the Stantec Report (Nov. 2, 2018)). In

its cover letters, Sunoco also stated that it “consider[ed] all of the information in the attachment to

be confidential.” (Id.). Further, Sunoco submitted the documentation “subject to [its] request for

confidential treatment” under FOIA. (Id.)

                                                   26.

       Because Sunoco complied with all of the requirements of relevant PHMSA and DOT

regulations, and both pipeline operators and PHMSA have traditionally protected this type of

information as confidential, Sunoco expected that the Stantec risk consequence modeling data

would be withheld from public disclosure.

                                                   27.

       On May 17, 2019, PHMSA initiated an enforcement action against Sunoco and issued a

NOPV detailing the Agency’s allegations against Sunoco.

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                                                28.

        Within the NOPV, PHMSA expressly quoted the results of risk consequence modeling

from the confidential Stantec hazard analyses. Specifically, the NOPV quoted Stantec’s detailed

dispersion and thermal radiation consequence modeling results for worst case releases from the

ME2. The underlying PSVR also quoted these modeling results, even though the quoted results

were not necessary to support the alleged violations in the NOPV.

                                                29.

        Because the confidential results of the risk consequence modeling have been traditionally

protected by PHMSA and were not necessary to the alleged violations in the NOPV or PSVR,

Sunoco believed that the Agency inadvertently included the findings of the risk assessment in the

NOPV.

                                                30.

        On June 4, 2019, Sunoco brought the issue to PHMSA’s attention during a teleconference.

At that time, PHMSA requested that Sunoco submit requested redactions from the NOPV and the

PSVR. (Ex. F, Email to PHMSA from Troutman Sanders on behalf of Sunoco (Jun. 5, 2019)). On

June 5, 2019, Sunoco submitted its requested redactions to PHMSA. (Id.) Sunoco’s proposed

redactions were limited to specific confidential risk consequence modeling data.

                                                31.

        On June 19, 2019, via email, PHMSA advised Sunoco that it would not redact the risk

consequence modeling results Sunoco identified and that it intended to publicly disclose the

information on June 27, 2019. (Ex. G, Email to Troutman Sanders on behalf of Sunoco from

PHMSA (Jun. 19, 2019)).




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                                                32.

       At this time, no third party had requested the information under FOIA, and the Agency was

under no obligation to release the risk consequence modeling results.

                                                33.

       On June 24, 2019, Sunoco objected to PHMSA’s decision to disclose an unredacted copy

of the NOPV and explained that the Agency should shield the redacted risk consequence modeling

results from disclosure under exemptions 4 and 7(F) of FOIA. (Ex. H, Letter to PHMSA from

Troutman Sanders on behalf of Sunoco (Jun. 24, 2019)).

                                                34.

       On November 6, 2019, PHMSA contacted Sunoco and again requested written justification

to support Sunoco’s position that the results of Stantec’s risk consequence modeling should be

protected under FOIA exemptions 4 and 7(F). (Ex. I, Letter to Troutman Sanders on behalf of

Sunoco from PHMSA (Nov. 6, 2019)). In that correspondence, PHMSA advised that it would

release the confidential results of the risk assessment within 5 days of its correspondence—

notwithstanding that PHMSA took nearly five months to respond to Sunoco’s June 24, 2019

correspondence. (Id.)

                                                35.

       On November 14, 2019, Sunoco again timely responded to PHMSA’s request for written

justification and provided additional support for its position that the results of Stantec’s risk

consequence modeling were exempt from disclosure under FOIA exemptions 4 as confidential

commercial information and under exemption 7(F) as information that could reasonably be

expected to endanger the safety of the public. (Ex. J, Letter to PHMSA from Troutman Sanders

on behalf of Sunoco (Nov. 14, 2019)).




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                                                   36.

       As of November 14, 2019, PHMSA had not made the NOPV publicly available and no

third party had made a request under FOIA for the NOPV or PSVR.

                                                   37.

       On November 25, 2019, PHMSA’s FOIA Officer, via email, advised that PHMSA agreed

to incorporate Sunoco’s proposed redactions into the NOPV that would be publicly disclosed. (Ex.

K, Email to Troutman Sanders on behalf of Sunoco from PHMSA (Nov. 25, 2019)). The FOIA

Officer advised that the Agency would be posting a redacted copy of the NOPV on the Agency’s

FOIA Electronic Reading Room on November 26, 2019. (Id.) The PHMSA FOIA Officer’s

correspondence did not reference the PSVR or indicate whether the Agency intended to redact the

information from that document. (Id.)

                                                   38.

       In December 2019, PHMSA received two FOIA requests for an unredacted copy of the

NOPV. These requests were cataloged as PHMSA FOIA Case Nos. 2020-0044 and 2020-0046.

At least one of these requests was filed by Eric Friedman on behalf of the Middletown Coalition

for Community Safety, a community group that is not associated with any local emergency

responders or regulatory agency.

                                                   39.

       On December 20, 2019, PHMSA notified Sunoco of the two FOIA requests. (Ex. L, Letter

to Troutman Sanders on behalf of Sunoco from PHMSA (Dec. 20, 2019)). Despite its earlier

decision to redact the specific results of Stantec’s risk consequence modeling from the NOPV, the

Agency again requested that Sunoco provide written justification for redacting the modeling

results within 10 business days of its notice. (Id.)




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                                                 40.

       On January 7, 2020, Sunoco again timely provided a written justification for withholding

the results of Stantec’s risk consequence modeling under FOIA exemptions 4 and 7(F). (Ex. M,

Letter to PHMSA from Troutman Sanders on behalf of Sunoco (Jan. 7, 2020)).

                                                 41.

       On March 5, 2020, PHMSA received another FOIA request seeking an unredacted copy of

the NOPV. This request was submitted on behalf of E&E News and was cataloged at Case No.

2020-0112.

                                                 42.

       On September 30, 2020, PHMSA denied the FOIA requests for unredacted copies of the

NOPV and PSVR. (See Ex. N, PHMSA Denial of FOIA Request No. 2020-0012 (Sep. 30, 2020);

Ex. O, PHMSA Denial of FOIA Request No. 2020-0044 (Sep. 30, 2020)). In denying these

requests, PHMSA found that the information was protected under FOIA exemption 4. PHMSA

did not address whether the information would also be protected under exemption 7(F).

                                                 43.

       On December 9, 2020, PHMSA informed Sunoco of a FOIA appeal (FOIA Case No. 2021-

0021A) related to its earlier decision to deny the FOIA requests and requested further justification

and explanation from Sunoco regarding the harm it would suffer if the unredacted NOPV were

disclosed. (Ex. P, FOIA Appeal (Nov. 12, 2020); Ex. Q Letter to Troutman Pepper on behalf of

Sunoco from PHMSA (Dec. 9, 2020)). Sunoco timely responded with further justification to

support the confidential nature of the risk consequence modeling data on December 18, 2020. (Ex.

R, Letter to PHMSA from Troutman Pepper on behalf of Sunoco (Dec. 18, 2020)).




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                                                 44.

       On December 30, 2020, PHMSA received a second FOIA appeal (Case No. 2021-0045A)

of its previous denial to release an unredacted version of the NOPV. (Ex. S, FOIA Appeal (Dec.

30, 2020)). In response to this appeal, PHMSA did not request that Sunoco provide any further

justification to support withholding the risk consequence modeling data as confidential.

                                                 45.

       On June 24, 2021, over six months after Sunoco provided further justification to PHMSA,

the Agency notified Sunoco of its Final Determination to release an unredacted version of the

NOPV with the specific results of Stantec’s risk consequence modeling on July 2, 2021. (Ex. T,

PHMSA Final Determination (Jun. 24, 2021)). In its Final Determination, PHMSA stated that,

considering the arguments made in the appeals, it no longer agreed that the information was

protected from disclosure under FOIA, whether exemption 4 or 7(F). (Id.)

                                                 46.

       With respect to FOIA exemption 4, PHMSA concluded that the results of the Stantec risk

consequence modeling were “not ‘commercial’ or ‘confidential.’” (Id. at 3.) Despite being

developed for purely commercial purposes, PHMSA asserted that the modeling results were not

“commercial” because the information included “factual safety information.” (Id. at 4.) Further,

PHMSA claimed that the risk consequence modeling data was not confidential (even though

Sunoco maintained the information as such) because (1) there were “no express or implied

assurances of confidentiality when the information was shared with the government;” and (2) there

were “express or implied indications at the time the information was submitted that the government

would publicly disclose the information.” (Id. at 5-7.)




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                                                    47.

        With respect to FOIA exemption 7(F), PHMSA claimed, without explanation, that the

results of the risk consequence modeling could not “reasonably be expected to endanger life or

physical safety of any individual.” (Id. at 8.) Rather, PHMSA asserted that the results of the risk

consequence modeling could be useful “to educate the public on possible hazards with an

unintended release.” (Id.) There is no exception in FOIA, however, to the application of

exemption 7(F) because exempted information may have some other useful purpose. Further, this

information is provided confidentially to PHMSA, relevant state agencies, and local emergency

responders. In addition, two other third parties have performed their own risk assessment analyses

for this pipeline that are available in the public record, thus greatly undermining any public need

for Sunoco’s proprietary and confidential modeling information. PHMSA also asserted, without

citation to any support in the statute, that exemption 7(F) “merely permits agencies to withhold

certain information; it does not require withholding.” (Id.) Based on this presumed power,

PHMSA indicated that it would make a discretionary release of the risk assessment results despite

the potential harm that could result. Thus, even if it agreed with Sunoco’s assessment that the

information could be used to endanger the life or physical safety of any individual, PHMSA would

still use its discretion – as the primary federal pipeline safety regulator – to release the information.

(Id.)

                                                    48.

        In its Final Determination, PHMSA agreed that Sunoco properly marked the Stantec risk

assessments as confidential when it provided the confidential and sensitive security information to

the Agency. (Id. at 2-3.)




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                                                   49.

       Despite PHMSA’s assertion, the targeted redactions of the specific results of Stantec’s risk

consequence modeling, as Sunoco previously claimed and demonstrated, are exempt from

disclosure under FOIA exemptions 4 and 7(F).

                                                   50.

       PHMSA’s Final Determination that Stantec’s risk consequence modeling results are not

exempt from public disclosure under FOIA exemptions 4 and 7(F) ignores well-established law

that recognizes protections for very similar types of information, fails to consider the confidential

commercial and highly sensitive nature of the information and the potential harm that can be

caused by its release, and relies on reasoning that is arbitrary, capricious, and contrary to law.

                                                   51.

       Additionally, PHMSA’s assumption of the discretion to disclose information which could

reasonably be expected to endanger the life or physical safety of the public, as defined by

exemption 7(F), is contrary to the statutory text of exemption 7(F), as well as existing DOT

regulations, and the release of this information is arbitrary and constitutes an abuse of discretion.

Moreover, PHMSA’s Final Determination is inconsistent with the purpose of the Pipeline Safety

Act to protect against “risks to life and property.” 49 U.S.C. § 60102(a)(1). Under its regulations,

PHMSA is not entitled to unfettered discretion to release information. 49 C.F.R. § 7.23(b)

provides that the Agency will “make reasonably described records available upon request from a

member of the public, . . . except to the extent that the records contain information exempt from

FOIA’s mandate of disclosure[.]”

                                                   52.

       As Sunoco has continued to maintain, the results of Stantec’s risk consequence modeling

are protected confidential “commercial . . . information obtained from a person [that is] privileged

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or confidential information” and subject to the protections of FOIA’s exemption 4. 5 U.S.C.

§ 552(b)(4). Sunoco requested that Stantec perform the risk consequence modeling in the course

of Sunoco’s commercial operations and for commercial purposes. Without this information,

Sunoco would be unable to comply with the federal pipeline safety regulations or operate the ME2

pipeline. Moreover, as PHMSA acknowledges, Sunoco keeps this type of commercial information

confidential.   Further, until now, PHMSA has routinely shielded similar information from

disclosure.

                                                 53.

       Additionally, the redacted results of Stantec’s risk assessments constitutes “records or

information compiled for law enforcement purposes . . . [that] could reasonably be expected to

endanger the life or physical safety of any individual” and so is exempt from disclosure under

FOIA exemption 7(F). 5 U.S.C. § 552(b)(7)(F). If revealed, the results of Stantec’s risk

assessments could create a blueprint that would be instrumental for a third party attempting to

damage the existing ME2 pipeline or cause significant harm to local communities.

                                                 54.

       The susceptibility of pipelines to physical attacks is well-documented as has the occurrence

of acts of physical pipeline sabotage and cyber attacks in recent years.        The Government

Accountability Office commented on the vulnerability of pipelines to physical attacks and

provided:

       According to [the Transportation Security Administration within the Department
       of Homeland Security], pipelines are vulnerable to physical attacks—including the
       use of firearms or explosives—largely due to their stationary nature, the volatility
       of transported products, and the dispersed nature of pipeline networks spanning
       urban and outlying areas. The nature of the transported commodity and the potential
       effect of an attack on national security, commerce, and public health make some
       pipelines and their assets more attractive targets for attack. Oil and gas pipelines




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       have been and continue to be targeted by terrorists and other malicious groups
       globally.1
                                             55.

       The potential harm that can be caused by the release of the Stantec risk consequence

modeling data is also well-documented. According to then-PA PUC Pipeline Safety Chief, Paul

Metro, the

       release of the requested records would compromise security against sabotage or
       criminal or terroristic acts regarding pipeline facilities by illustrating the extent of
       the impact zone, including casualty and damage assessments at various ranges,
       regarding an accident (or sabotage event) on a pipeline. These Reports and
       Inspection Reports explicitly provide how such an assessment can be made (as well
       as the assessment for this particular pipeline, and particularly on these Sunoco
       pipelines, as they contain the specific operating parameters of the pipelines) to
       cause the greatest possible harm and mass destruction to the public living near such
       facilities.

(Ex. C, Affidavit of Paul J. Metro (Apr. 15, 2019)). Mr. Metro was the longstanding Pipeline

Safety Chief at the PA PUC with responsibility for investigating, analyzing, and responding to

pipeline safety issues in Pennsylvania.


                                                  56.

       It is reasonably foreseeable that the disclosure of the results of the risk assessments in the

Stantec report could be used by a third party to damage the existing ME2 pipeline and/or cause a

pipeline incident that would harm the surrounding community.

                                                  57.

       PHMSA’s Final Determination ignores the foreseeable harm that could be caused by the

release of Stantec’s risk consequence data contained in the NOPV and the PSVR and the

applicability of FOIA exemptions 4 and 7(F).


1
  U.S. Gov’t Accountability Off., GAO-19-48, Critical Infrastructure Protection Actions Needed
to Address Significant Weaknesses in TSA’s Pipeline Security Program Management, pp. 10-11
(Dec. 2018) (emphasis added), available at https://www.gao.gov/assets/700/696123.pdf.

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     COUNT I – VIOLATION OF ADMINISTRATIVE PROCEDURE ACT (“APA”)

                                                  58.

       Paragraphs 1 through 57 are incorporated herein by reference as if fully set forth.

                                                  59.

       Under the APA, a court can “hold unlawful and set aside agency action, findings and

conclusion found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706.

                                                  60.

       PHMSA’s Final Determination to disclose the confidential results of Stantec’s risk

consequence modeling is a final agency action within the meaning of 5 U.S.C. § 704 that is

reviewable under the APA.

                                                  61.

       PHMSA’s decision to disclose the confidential results of Stantec’s risk consequence

modeling is arbitrary and capricious, an abuse of discretion, and contrary to law, including

applicable DOT regulations at 49 C.F.R. Part 7 and PHMSA regulations at 49 C.F.R. Part 190.

                                                  62.

       By responding to multiple requests from PHMSA and providing numerous written

justifications to support the confidentiality and sensitive nature of the risk consequence modeling

results, Sunoco has exhausted all available administrative remedies.

                                                  63.

       FOIA authorizes agencies to disclose certain information after receiving third-party

requests for the records unless that information is subject to certain exceptions. 5 U.S.C. § 552(a).




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                                                 64.

       In this instance, the results of Stantec’s risk consequence modeling are confidential

commercial information that is customarily withheld from public disclosure, not only by Sunoco,

but by other pipeline operators and, historically, by PHMSA. The risk consequence modeling data

was prepared to support Sunoco’s commercial interests in maintaining the operation of its

pipelines. Without this information, Sunoco would be unable to comply with the federal pipeline

safety requirements or operate the ME2 pipeline. If publicly disclosed, this information can be

used by third parties to disrupt the operations of the pipeline, thereby impacting Sunoco’s

commercial interests in the safe transportation of products in Pennsylvania and in interstate

commerce. Further, the information was submitted to PHMSA with the proper and numerous

indications that the information should be maintained as confidential and, as a result, is exempt

from disclosure under FOIA exemption 4, 5 U.S.C. § 552(b)(4).

                                                 65.

       Additionally, the risk consequence modeling data can be used by a third party criminal or

terrorist to cause the greatest possible harm and destruction to the ME2 pipeline and the

surrounding communities. Because withholding this information is necessary to protect the

existing pipeline and those living near it, the information is exempt from disclosure pursuant to

FOIA exemption 7(F), 5 U.S.C. § 552 (b)(7)(F).

                                                 66.

       PHMSA’s decision to publicly disclose the confidential and highly sensitive security

information at issue is unlawful, improperly applies FOIA exemptions 4 and 7(F), and is contrary

to established law and violates applicable Agency regulations.




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                                                 67.

        Sunoco will suffer irreparable harm if PHMSA releases the results of Stantec’s risk

assessments—both the existing ME2 pipeline and the surrounding community will be vulnerable

to outside attack or sabotage.

                                                 68.

        Given the important security and commercial implications and confidential nature of the

information at issue, Sunoco respectfully requests that the Court set aside PHMSA’s erroneous

Final Determination and permanently enjoin PHMSA from releasing an unredacted version of the

NOPV.


WHEREFORE, Sunoco prays that:

        (1)     The Court enter judgment holding unlawful and setting aside PHMSA’s decision

to release an unredacted version of the NOPV as being in excess of PHMSA’s statutory authority,

otherwise contrary to law, arbitrary and capricious, and an abuse of discretion;

        (2)     The Court declare that the subject information should be redacted from the NOPV

and the PSVR;

        (3)     Following a hearing and determination of the merits, the Court enjoin Defendants,

or any person or entity acting in active concert with them or at their direction, from releasing or

disclosing the subject information; and

        (4)     The Court grant Sunoco such other and further relief as the Court deems just,

equitable, and proper.




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Dated: June 30, 2021               Respectfully submitted,


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